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                          UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

  IN RE:                                                CASE NO:

  BAXLEY CORPORATION, LLC                               22-00397-5-DMW

  DEBTOR                                                CHAPTER 7

         NOTICE OF FIRST APPLICATION FOR INTERIM COMPENSATION OF
                               ACCOUNTANT

         James B. Angell, Chapter 7 Trustee in the above referenced case (“Trustee”) has filed
  papers with the Court to apply for interim compensation for Williams Overman Pierce, LLP
  (“Accountant”) in this case.

         Your rights may be affected. You should read these papers carefully and discuss
  them with your attorney, if you have one in this bankruptcy case. (If you do not have an
  attorney, you may wish to consult one.)

          If you do not want the court to allow the application, or if you want the court to consider
  your views on the application, then on or before October 31, 2022, you or your attorney must
  file with the court, pursuant to Local Rule 9013-1 and 9014-1, a written response, an answer
  explaining your position, and a request for hearing at:

  Clerk, U.S. Bankruptcy Court
  Eastern District of North Carolina
  PO Box 791
  Raleigh, North Carolina 27602

         If you mail your response to the court for filing, you must mail it early enough so the
  court will receive it on or before the date stated above.

           You must also mail a copy to:

  Brian C. Behr, Esquire                             James B. Angell
  Bankruptcy Administrator                           Chapter 7 Trustee
  434 Fayetteville Street, Suite 640                 P.O. Box 12347
  Raleigh, NC 27601                                  Raleigh, NC 27605
  Bill Kroll                                         George M. Oliver
  Everett Gaskins Hancock, LLP                       Po Box 1548
  220 Fayetteville Street #300                       New Bern, NC 28563
  Raleigh, NC 27601
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         If you or your attorney do not take these steps, the court may decide that you do not
  oppose the relief sought in the application and may enter an order granting that relief.

  DATED: October 7, 2022

                                                   s/James B. Angell
                                                   James B. Angell, Chapter 7 Trustee
                                                   Howard, Stallings, From, Atkins,
                                                   Angell & Davis, P.A.
                                                   State Bar No. 12844
                                                   P.O. Box 12347
                                                   Raleigh, NC 27605
                                                   Telephone: (919) 821-7700
                                                   Facsimile: (919) 821-7703
                                                   jangell@hsfh.com
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                        UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

  IN RE:                                                CASE NO:

  BAXLEY CORPORATION, LLC                               22-00397-5-DMW

  DEBTOR                                                CHAPTER 7

      FIRST APPLICATION FOR INTERIM COMPENSATION OF ACCOUNTANT

         Now comes James B. Angell, Chapter 7 Trustee (“Trustee”), by and through undersigned
  counsel, and hereby moves the Court for approval of the Application for Payment of Accountant,
  Williams Overman Pierce, LLP (“Accountant”) as Accountant in this case seeking payment of
  fees and expenses. In support thereof, he respectfully represents to the Court:

     1. This matter is a core proceeding pursuant to 28 U.S.C. §157, and the Court has
        jurisdiction pursuant to 28 U.S.C. §§151, 157 and 1334. The Court has the authority to
        hear this matter pursuant to the General Order of Reference entered August 3, 1984, by
        the United States Bankruptcy Court for the Eastern District of North Carolina.

     2. In the course of the affairs of the bankruptcy estate, it became necessary for the Trustee
        to obtain the services of an Accountant. On March 4, 2022, the Trustee filed an
        Application to Employ Williams Overman Pierce, LLP as Accountant in this case. An
        order was entered allowing employment on March 24, 2022.

     3. The Accountant was employed to perform the following professional services:

            a. To review and prepare tax returns of Baxley Corporation, LLC and Baxley
               Leasing, LLC; and

            b. To serve as an expert witness on request by the Trustee.

            c. To perform any other accounting services for the Trustee as may be necessary in
               this Chapter 7 proceeding.

     4. This is the first application for payment of the Accountant in this case.

     5. The Trustee seeks to make payments to Accountant for the period of March 14, 2022,
        through September 27, 2022. The total payment of fees sought is $5,080.00. A copy of
        the billing worksheet is attached as Exhibit A.

     6. The credentials for Williams Overman Pierce, LLP are attached hereto as Exhibit B.
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     7. The services rendered by Accountant were necessary and of substantial value to the
        bankruptcy estate. The amount sought is fair and reasonable for the services rendered.

         WHEREFORE, it is hereby respectfully requested that Williams Overman Pierce, LLP.,
  Accountant for the James B. Angell, Chapter 7 Trustee in the above referenced case be allowed
  reimbursement of fees in the amount of $5,080.00 and for such other relief as is just and proper.

  DATED: October 7, 2022

                                                      s/James B. Angell
                                                      James B. Angell, Chapter 7 Trustee
                                                      Howard, Stallings, From, Atkins,
                                                      Angell & Davis, P.A.
                                                      State Bar No. 12844
                                                      P.O. Box 12347
                                                      Raleigh, NC 27605
                                                      Telephone: (919) 821-7700
                                                      Facsimile: (919) 821-7703
                                                      jangell@hsfh.com
  EXHIBIT A
WILLIAMS OVERMAN PIERCE LLP Case                  22-00397-5-DMW              Doc 303 Filed 10/07/22 Entered 10/07/22 16:17:31                          Page 5 of 8
Billing Worksheet By Service Code
For Accounting period dates:None, For Transaction dates:1/1/2020 - 9/30/2022


0203529 - Baxley Corporation, LLC


Subcategory                                                                            Service Code                              Date     Staff                       Rate     Hours         WIP


01065                                                                                  Partnership Tax Returns (10650)          3/14/2022 Potter, Kristen (PotterK)   250.00       0.40      100.00
Internal note: Prep & file 2021 extensions
01065                                                                                  Partnership Tax Returns (10650)           5/4/2022 Golden, Edward (GoldenE)    275.00       0.50      137.50
Invoice desc: review files received, prep needs list
01065                                                                                  Partnership Tax Returns (10650)          5/16/2022 Golden, Edward (GoldenE)    275.00       0.40      110.00
Invoice desc: correspondence w/ Kevin Shoaff, review files received
07200                                                                                  NC/Other States Correspondence (72001)    6/6/2022 Golden, Edward (GoldenE)    275.00       0.40      110.00
Invoice desc: re NC payroll notices, emails w/ trustee
01200                                                                                  Payroll Tax Returns (12000)              6/29/2022 Golden, Edward (GoldenE)    275.00       0.30       82.50
Invoice desc: review payroll files received, email w/ trustee office
01065                                                                                  Partnership Tax Returns (10650)          7/11/2022 Golden, Edward (GoldenE)    275.00       1.20      330.00
Invoice desc: re IRS letters, prep Forms 8979 to change representative for tax years
2018-2019; emails w/ trustee
01065                                                                                  Preparation (10653)                       8/2/2022 Gray, Jordan (GrayJ)        165.00       2.00      330.00
Internal note: Setup TB, preparation of 2021 tax files
01065                                                                                  Partnership Tax Returns (10650)           8/4/2022 Golden, Edward (GoldenE)    275.00       0.50      137.50
Invoice desc: review payroll files received, email
01065                                                                                  Partnership Tax Returns (10650)          8/22/2022 Golden, Edward (GoldenE)    275.00       0.30       82.50
Invoice desc: re PPP loan forgiveness, review files, email w/ trustee
08000                                                                                  Client Services-Other(describ) (80000)   8/23/2022 Boyd, Jessica (BoydJ)       215.00       0.50      107.50
Internal note: PPP forgiveness; setup engagement
08000                                                                                  Client Services-Other(describ) (80000)   8/23/2022 Golden, Edward (GoldenE)    275.00       0.80      220.00
Invoice desc: re PPP loan forgiveness & ERC, emails, tel conv w/ trustee
01065                                                                                  Partnership Tax Returns (10650)          8/26/2022 Golden, Edward (GoldenE)    275.00       0.30       82.50
Invoice desc: correspondence with Robert Nordlander CPA
01065                                                                                  Partnership Tax Returns (10650)          8/30/2022 Golden, Edward (GoldenE)    275.00       0.80      220.00
Invoice desc: conference call w/ Robert Norlander CPA
01065                                                                                  Preparation (10653)                       9/6/2022 Gray, Jordan (GrayJ)        165.00       5.50      907.50
Internal note: preparation of 2021 1065 return.
01065                                                                                  Review (10654)                            9/7/2022 Potter, Kristen (PotterK)   250.00       2.30      575.00
Internal note: Tech review
01065                                                                                  Preparation (10653)                       9/8/2022 Gray, Jordan (GrayJ)        165.00       1.50      247.50
Internal note: update tax returns per review notes
01065                                                                                  Review (10654)                           9/12/2022 Potter, Kristen (PotterK)   250.00       1.30      325.00
Internal note: review updated tax returns, workpapers




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WILLIAMS OVERMAN PIERCE LLP Case               22-00397-5-DMW                 Doc 303 Filed 10/07/22 Entered 10/07/22 16:17:31                         Page 6 of 8
Billing Worksheet By Service Code
For Accounting period dates:None, For Transaction dates:1/1/2020 - 9/30/2022


0203529 - Baxley Corporation, LLC


Subcategory                                                                              Service Code                              Date    Staff                       Rate      Hours         WIP


01065                                                                                    Partnership Tax Returns (10650)          9/13/2022 Golden, Edward (GoldenE)   275.00        1.80       495.00
Invoice desc: partner review 2021 tax returns,wps & disclosures, tel conv w/ trustee

06060                                                                                    Processing (60601)                       9/15/2022 Stephens, Savannah           80.00       0.50        40.00
Internal note: Process and assemble tax returns                                                                                             (StephensS)
01065                                                                                    Partnership Tax Returns (10650)          9/15/2022 Golden, Edward (GoldenE)   275.00        0.60       165.00
Invoice desc: updated 2021 tax returns & wps per tel conv w/ trustee, final package to
client
08000                                                                                    Client Services-Other(describ) (80000)   9/22/2022 Laney, Madison (LaneyM)    165.00        0.50        82.50
Invoice desc: review files; prep needs list for PPP forgiveness application
07200                                                                                    NC/Other States Correspondence (72001)   9/26/2022 Golden, Edward (GoldenE)   275.00        0.40       110.00
Invoice desc: NC ESC notice, review files
01065                                                                                    Partnership Tax Returns (10650)          9/27/2022 Golden, Edward (GoldenE)   275.00        0.30        82.50
Invoice desc: files requested by debtor's attorney


                                                                                                                                           Invoice Total                           23.10       5,080.00




                                                                                                                                                                                 Page 2 of 2
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  EXHIBIT B

                                               Williams Overman Pierce, LLP
                                                Biographical Information

Edward A. Golden, CPA

Edward A. Golden, a partner in the Raleigh office, joined Williams Overman Pierce, LLP in May 2007. Edward graduated from
University of Stony Brook in New York in 1999 with a Bachelor of Science degree in business management and then graduated
from C.W. Post University in New York in 2000 with a Masters of Science degree in accounting. Edward’s primary focus at the
firm is in taxation. Prior to joining Williams Overman Pierce, LLP, Edward worked for a CPA firm in New York.

Edward is a licensed CPA in New York and North Carolina, and is a member of the AICPA, NYS Society of Certified Public
Accountants, the NC Association of Certified Public Accountants and the American Bankruptcy Institute.

Kristen Potter, CPA, CVA

Kristen Potter joined Williams Overman Pierce, LLP in August 2011. Kristen graduated from East Carolina University where she
earned a Bachelor of Science in Business Administration with a concentration in accounting in 2009 and a Master of Science
degree in accounting in 2011. Kristen’s primary areas of concentration are in tax and business valuation.

Jessica Boyd, CPA

Jessica Boyd joined Williams Overman Pierce, LLP in January 2020 as a senior accountant and is currently a supervisor.
Jessica graduated from East Carolina University where she earned a Bachelor of Science degree in accounting in 2017. Prior
to joining the firm, Jessica worked for another accounting firm in North Carolina. Jessica’s primary focus is in tax and
assurance services.

Jordan Gray, CPA

Jordan Gray joined Williams Overman Pierce, LLP in January 2021 as an intern and is currently a staff accountant. Jordan
graduated from University of North Carolina at Greensboro where she earned a Bachelor of Science degree in accounting in
2020 and a Master’s of Science degree in accounting in 2021. Jordan’s primary focus is in tax and accounting services.

Madison Laney

Madison Laney joined Williams Overman Pierce, LLP in January 2021 as a staff accountant. Madison graduated from East
Carolina University with a Bachelor of Science in Business Administration in 2019 and a Master of Science degree in
accounting in 2020. Madison’s primary focus is in tax and accounting services.

Savannah Stephens
Savannah Stephens joined Williams Overman Pierce, LLP in October 2020 as an administrative assistant. Her responsibilities
include processing and assembling tax returns and financial statements. In addition, Savannah performs various office and
administrative tasks.
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                             UNITED STATES BANKRUPTCY COURT
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  IN RE:                                                     CASE NO:

  BAXLEY CORPORATION, LLC                                    22-00397-5-DMW

  DEBTOR                                                     CHAPTER 7

                                      CERTIFICATE OF SERVICE

             I, Qiara McCain, of the law firm Howard, Stallings, From, Atkins, Angell & Davis, P.A.,
  certify:

             That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
  age:

          That on October 7, 2022, the foregoing First Application for Interim Compensation of
  Accountant and Notice of Application was electronically filed with the Clerk of Court using the
  CM/ECF system which will send notification of such filing to the parties listed below. I further
  certify that I have mailed the document to the non CM/ECF participants as set out below by first
  class mail.

             I certify under penalty of perjury that the foregoing is true and correct.

  DATE: October 7, 2022
                                                    s/ Qiara McCain
                                                    Qiara McCain, Paralegal
                                                    P.O. Box 12347
                                                    Raleigh, NC 27605

  Brian C. Behr, Esquire                                  George M. Oliver
  Bankruptcy Administrator                                Attorney for Debtor
  Served via cm/ecf and by email to                       Served via cm/ecf
  Karen_Cook@nceba.uscourts.gov
  Lesley_Dean@nceba.uscourts.gov and

  Bill Kroll                                              Williams Overman Pierce, LLP
  Everett Gaskins Hancock, LLP                            Attn: Edward A. Golden
  Attorney for Baxley Leasing, LLC,                       2501 Atrium Drive, Suite 500
  Martha Baxley                                           Raleigh, NC 27607
  Served via cm/ecf
